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4    Attorney for Defendant
     KHAMLE KEOVILAY
5
                         IN THE UNITED STATES DISTRICT COURT
6
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
7
8
     UNITED STATES OF AMERICA,      )
9                                   )     Cr.S. 09-223-GEB
                     Plaintiff,     )
10                                  )     STIPULATION AND ORDER
               v.                   )
11                                  )
     KHAMLE KEOVILAY, et al.,       )     DATE: March 15, 2013
12                                  )     TIME: 9:00 a.m.
                     Defendant.     )     JUDGE: Hon. Garland E. Burrell
13                                  )
     __________________________     )
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15
          It is hereby stipulated and agreed to by the United States of
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     America through TODD D. LERAS, Assistant United States Attorney, and
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     defendant, KHAMLE KEOVILAY, by and though his counsel, DENNIS S. WAKS,
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     that the status conference set for February 15, 2013, be continued to a
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     status conference on Friday, March 15, 2013, at 9:00 a.m.              This
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     continuance is being requested because defense counsel needs additional
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     time to prepare, to review discovery, and to interview witnesses.             The
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     parties have received a large amount of discovery, including Title III
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     documents.
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          Furthermore, the parties stipulate and agree that the interest of
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     justice served by granting this continuance outweighs the best interest
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     of the public and the defendant in a speedy trial. (18 U.S.C.
27
     §3161(h)(7)(A)).
28
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1         Speedy trial time is to be excluded from the date of this order
2    through the date of the status conference set for March 15, 2013,
3    pursuant to 18 U.S.C. § 3161 (h)(7)(B)(iv) [reasonable time to prepare]
4    (Local Code T4).
5    DATED: February 11, 2013
6                                      Respectfully submitted,
7
                                       /s/ Dennis S. Waks
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                                       DENNIS S. WAKS
9                                      Attorney for Defendant
                                       KHAMLE KEOVILAY
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11
12   DATED: February 11, 2013
                                       BENJAMIN B. WAGNER
13                                     United States Attorney
14
                                       /s/ Dennis S. Waks for
15
                                       TODD D. LERAS
16                                     Assistant U.S. Attorney
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18
                                       O R D E R
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          Based on the stipulation of the parties and good cause appearing
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     therefrom, the Court hereby finds that the failure to grant a
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     continuance in this case would deny defense counsel reasonable time
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     necessary for effective preparation, taking into account the exercise
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     of due diligence.    The Court specifically finds that the ends of
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     justice served by the granting of such continuance outweigh the
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     interests of the public and the defendant in a speedy trial.           Based on
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     these findings and pursuant to the stipulation of the parties, the
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     Court hereby adopts the stipulation of the parties in its entirety as
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     its order.   Time is excluded from computation of time within which the
     trial of this matter must be commenced beginning from the date of the

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1    stipulation through and including March 15, 2013, pursuant to 18 U.S.C.
2    §   3161(h)(7)(A) and (B)(iv) [reasonable time for defense counsel to

3    prepare] and Local Code T4.        A new status conference date is hereby set

4    for March 15, 2013, at 9:00 a.m..

5    Dated:     February 12, 2013
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7                                         GARLAND E. BURRELL, JR.
                                          Senior United States District Judge
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